Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 1 of 15
Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 2 of 15
Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 3 of 15




              EXHIBIT A
       Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 4 of 15

Lisa K. Nguyen                                                          140 Scott Drive
Direct Dial: +1 (650) 470-4848                                          Menlo Park, California 94025
lisa.nguyen@lw.com                                                      Tel: +1.650.328.4600 Fax: +1.650.463.2600
                                                                        www.lw.com

                                                                        FIRM / AFFILIATE OFFICES
                                                                        Beijing           Moscow
                                                                        Boston            Munich
                                                                        Brussels          New York
                                                                        Century City      Orange County
                                                                        Chicago           Paris
March 4, 2019                                                           Dubai             Riyadh
                                                                        Düsseldorf        Rome
                                                                        Frankfurt         San Diego
                                                                        Hamburg           San Francisco
                                                                        Hong Kong         Seoul
                                                                        Houston           Shanghai
                                                                        London            Silicon Valley

BY ELECTRONIC MAIL                                                      Los Angeles       Singapore
                                                                        Madrid            Tokyo
                                                                        Milan             Washington, D.C.
Douglas R. Dalgleish
Stinson Leonard Street
1201 Walnut Street, Suite 2900
Kansas City, MO 64106
doug.dalgleish@stinson.com



                      Re:        No Spill Inc. v. Scepter Corporation and Scepter Manufacturing LLC
                                 Case No. 2:18-cv-02681-JAR-KGG


Dear Doug:

        I write in an attempt to conserve the resources of the parties and the Court by resolving
certain deficiencies in the Complaint filed by No Spill Inc. (“No Spill”) in the above-referenced
action without motion practice. First, Scepter Corporation no longer exists today and should be
removed from the named parties. Second, the District of Kansas lacks personal jurisdiction over
Scepter Canada Inc. (the successor to the business of Scepter Corporation), and thus, among
other reasons, the patent claims against it should be dismissed. Third, to the extent that No Spill
intends to maintain patent infringement claims in this case, the Complaint establishes that the
District of Kansas is an improper venue, and that the case should be transferred to a proper venue
such as the Northern District of Oklahoma or the District of Delaware.

Scepter Corporation Is Not A Proper Named Party

        Scepter Corporation was an Ontario corporation that no longer exists today. In 2014,
Myers Industries Inc. (“Myers”) completed its acquisition of Scepter Corporation, transferring
substantially all assets of Scepter Corporation to CA Acquisitions Inc., a Canadian corporation.
As part of the Asset Purchase Agreement, Scepter Corporation was required “to change its name
to one not including the name ‘Scepter.’” As such, after the acquisition closed, Scepter
Corporation changed its name to 1216037 Ontario, Inc., a numbered Ontario corporation. And,
as part of that change, 1216037 Ontario Inc. provided its consent for “the use of the name
      Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 5 of 15
March 4, 2019
Page 2




‘Scepter Canada Inc.’ by CA Acquisitions Inc. which is the successor to the business of the
Corporation.” See Attachment A, Amendment to Articles dated July 11, 2014.

        Please confirm that No Spill will remove Scepter Corporation as a named party from the
present litigation. As explained below, replacing Scepter Corporation with Scepter Canada Inc.
will not cure the jurisdictional or venue deficiencies either.

The District of Kansas Lacks Personal Jurisdiction Over Scepter Canada Inc.

       There are three entities affiliated with the Scepter brand: Scepter Manufacturing LLC (a
Delaware corporation with its principal place of business in Miami, Oklahoma), Scepter US
Holdings Company (an Ohio corporation with its principal places of business in Akron, Ohio),
and Scepter Canada Inc. (a Canadian corporation with its principal place of business in
Scarborough, Ontario). See Attachment B, Myers Industries, Inc., Form 10-K dated March 9,
2018 at Exhibit 21. Scepter Manufacturing is a wholly-owned subsidiary of Scepter US
Holdings Company. Scepter US Holdings Company is just that—a holding company with no
manufacturing operations. Scepter US Holdings Company and Scepter Canada Inc. are each
wholly-owned subsidiaries of Myers.

       Myers operates any business in the United States related to the “Scepter” brand through
Scepter US Holdings Company and Scepter Manufacturing LLC. Scepter Manufacturing LLC
manufactures its products under license from Scepter Canada Inc. Scepter Canada Inc. does not
do business with any entity in the United States other than with its sister entities Scepter US
Holdings Company and Scepter Manufacturing LLC and its parent Myers, none of which is
located in or incorporated in Kansas.

       Scepter Canada Inc. has never provided, designed, manufactured, advertised, promoted,
offered, or sold portable fuel containers to any entity, nor any other products or services in
Kansas. Scepter Canada Inc. has no contracts or agreements with any entities in Kansas.
Scepter Canada Inc. is not registered to do business in Kansas.

       Scepter Manufacturing LLC is a distinct and legally separate entity from Scepter Canada
Inc. Scepter Canada Inc. does not directly or indirectly own Scepter Manufacturing LLC and
does not direct or control Scepter Manufacturing LLC. Scepter Canada Inc. does not finance
Scepter Manufacturing LLC. And Scepter Canada Inc. does not recognize revenue from Scepter
Manufacturing LLC nor does any income flow from Scepter Manufacturing LLC to Scepter
Canada Inc.

        Scepter Canada Inc. has no contacts with Kansas. As such, Scepter Canada Inc. has no
“continuous and systematic” contacts to establish general jurisdiction, nor does it engage in any
activities in, or directed at, Kansas that give rise or relate to No Spill’s patent infringement
claims that would establish specific jurisdiction.

       Please confirm that No Spill will not name Scepter Canada Inc. in its suit in the District
of Kansas.
      Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 6 of 15
March 4, 2019
Page 3




The District of Kansas Does Not Have Proper Venue Over Patent Claims Asserted Against Any
Scepter Entity

        To the extent that No Spill maintains its patent infringement claims against any Scepter
entity, venue is improper in the District of Kansas. No Spill alleges in its Complaint that
“Scepter Manufacturing manufactures and sells within the United States plastic gasoline
containers that employ a flash suppressor positioned through the opening of the gasoline
container (‘Infringing Fuel Container’).” Compl. ¶ 23. Thus, on the face of the Complaint, No
Spill pleads that Scepter Manufacturing LLC—a Delaware corporation with its principal place of
business in Miami, OK—engages in the alleging infringing activity.

       But in order to file a patent suit in the District of Kansas, the patent venue statute (28
U.S.C. §1400(b)) requires that the alleged infringer have a “regular and established place of
business” in Kansas or be incorporated in Kansas. Scepter Manufacturing LLC meets neither
requirement. As such, No Spill only asserts infringement against the now-defunct, non-
operating, and non-existing foreign entity Scepter Corporation for “directing and controlling” the
allegedly infringing activities of Scepter Manufacturing LLC.

       Such bare allegations are improper and insufficient to establish claims for infringement.
See also Sprint Comm’n, L.P. v. Cox Comm’n, Inc., 896 F.Supp.2d 1049 (D. Kan. 2012)
(Robinson, J.) (It is a “well-settled proposition that a ‘holding or parent company has a separate
corporate existence from its subsidiary and is thus treated separately in the absence of
circumstance justifying the disregard of the corporate entity.’”). Regardless, there are plainly no
foreign or Kansas entities that “direct or control” Scepter Manufacturing LLC to establish proper
venue in the District of Kansas.

        Please confirm that No Spill will drop its patent claims. To the extent No Spill decides to
maintain its patent infringement claims, please confirm that No Spill will agree to transfer such
claims to the Northern District of Oklahoma or the District of Delaware where venue is proper.


                                               ***

       Please provide confirmation of the above by March 8. To the extent that No Spill
chooses to maintain its patent infringement claims in the District of Kansas, please provide your
Rule 11 basis for doing so.

                                             Very truly yours,


                                             Lisa K. Nguyen
                                             of LATHAM & WATKINS LLP
Encl.

cc:       Counsel of Record
Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 7 of 15




               EXHIBIT B
              Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 8 of 15



Nguyen, Lisa (SV)

From:                                 Dalgleish, Douglas R. <doug.dalgleish@stinson.com>
Sent:                                 Friday, March 08, 2019 12:50 PM
To:                                   Le, Jacklyn (SV)
Cc:                                   Yeretsky, Bradley; Langford, Bryce E.; Evans, Jr., Robert M.; Nguyen, Lisa (SV)
Subject:                              RE: No Spill Inc. v. Scepter Corporation, et al.



Lisa,
I confirm receipt of your March 4 letter. We are reviewing and will respond to your assertions at the appropriate time.
Thank you
Doug Dalgleish


Douglas R. Dalgleish | Partner | Stinson Leonard Street LLP
1201 Walnut Street, Suite 2900 | Kansas City, MO 64106-2150
T: 816.691.3122 | F: 816.412.1096
doug.dalgleish@stinson.com | www.stinson.com
Legal Administrative Assistant: Amy Baker | 816.691.2464 | amy.baker@stinson.com

This communication (including any attachments) is from a law firm and may contain confidential and/or privileged information. If it
has been sent to you in error, please contact the sender for instructions concerning return or destruction, and do not use or disclose
the contents to others.
From: Jacklyn.Le@lw.com <Jacklyn.Le@lw.com>
Sent: Monday, March 4, 2019 5:48 PM
To: Dalgleish, Douglas R. <doug.dalgleish@stinson.com>
Cc: Yeretsky, Bradley <brad.yeretsky@stinson.com>; Langford, Bryce E. <bryce.langford@stinson.com>; Evans, Jr.,
Robert M. <robert.evans@stinson.com>; Lisa.Nguyen@lw.com
Subject: No Spill Inc. v. Scepter Corporation, et al.

External Email – Use Caution

Mr. Dalgleish,

Please find attached correspondence from Lisa Nguyen concerning the above-referenced matter.


Jacklyn T. Le
Legal Secretary

LATHAM & WATKINS LLP
140 Scott Drive | Menlo Park, CA 94025
D: +1.650.463.4686

_________________________________

This email may contain material that is confidential, privileged and/or attorney work product for the sole use of
the intended recipient. Any review, disclosure, reliance or distribution by others or forwarding without express
permission is strictly prohibited. If you are not the intended recipient, please contact the sender and delete all
copies including any attachments.

                                                                  1
            Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 9 of 15



Latham & Watkins LLP or any of its affiliates may monitor electronic communications sent or received by our
networks in order to protect our business and verify compliance with our policies and relevant legal
requirements. Any personal information contained or referred to within this electronic communication will be
processed in accordance with the firm's privacy notices and Global Privacy Standards available at www.lw.com.




                                                      2
Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 10 of 15




               EXHIBIT C
      Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 11 of 15


Hudson, OH to Kansas City, KS                                             Drive 798 miles, 12 h 1 min




                                                                Map data ©2019 Google   50 mi



    via I-70 W                                  12 h 1 min
    Fastest route now, avoids road closures         798 miles
    on I-70 W
        Your destination is in a different time zone.



    via I-72 W                                12 h 30 min
                                                  831 miles



    Cleveland, OH—Kansas City, MO               3 h 30 min
                                                  from $374
  Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 12 of 15


                 Hudson, OH to Wilmington, DE             Drive 398 miles, 6 h 19 min




                                                   Map data ©2019 Google   20 mi



via I-76                           6 h 19 min
Fastest route, the usual tra c       398 miles
   This route has tolls.



via I-76 and I-70 E                6 h 31 min
                                     421 miles



Cleveland, OH—Philadelphia, PA     1 h 25 min
                                    from $374
Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 13 of 15




               EXHIBIT D
                        Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 14 of 15


                                                                              U.S. District Court — Judicial Caseload Profile
DELAWARE                                                                                 12-Month Periods Ending

                                                               Dec 31          Dec 31             Dec 31       Dec 31             Dec 31           Dec 31
                                                                2013            2014               2015         2016               2017             2018                      Numerical
                                                                                                                                                                              Standing
                                    Filings ¹                      2,374           1,809               1,450        1,562            2,080            2,259                    Within
                                 Terminations                      2,054           2,231               1,920        1,428            1,982            2,050               U.S.       Circuit
    Overall
   Caseload                         Pending                        2,823           2,403               1,935        2,071            2,168            2,383
   Statistics            Percent Change in Total
                           Filings Current Year
                            Over Earlier Year                        -4.8              24.9             55.8         44.6              8.6                                31              2
                                    Number of Judgeships                 4               4                 4              4                4                4
                            Vacant Judgeship Months ²                0.0                0.0              0.0          0.0             18.9               19.0
                                            Total                    594               452              363          391              520                565              28              2
                                            Civil                    549               428              338          361              493                537              14              2
                                            Criminal
                          Filings                                                                                                                                         93              6
                                            Felony                       38             18               18           23                 23               23
                                            Supervised
   Actions                                  Release
per Judgeship                               Hearings                     7               6                 7              7                4                5             92              6
                               Pending Cases ²                       706               601              484          518              542                596              26              4
                              Weighted Filings ²                   1,087               785              541          505              810                951               3              1
                                 Terminations                        514               558              480          357              496                513              34              2
                              Trials Completed                           19             21               15           15                 16               13              62              4
                                            Criminal
                      From Filing to        Felony                   9.7               10.8             14.7         10.5             13.0               10.5             62              2
   Median              Disposition
                                            Civil ²                  7.2               10.9             12.6          9.2              6.0                5.5              5              2
Time (Months)
                           From Filing to Trial ²
                               (Civil Only)                         34.6               29.2             27.7         24.5             27.1               28.7             33              2
                              Number (and %)
                               of Civil Cases                       279                288              205          268              200                211
                              Over 3 Years Old ²                    10.7               12.9             11.5         14.1             10.0               9.6              65              4
                             Average Number
                          of Felony Defendants
     Other                    Filed per Case                         1.4                1.5              1.8          1.3              1.2                1.1
                                 Avg. Present for
                                 Jury Selection                     45.7               42.4             64.1         55.0             59.6               70.6
                     Jurors      Percent Not
                                 Selected or
                                 Challenged                         29.3               28.0             46.6         37.4             40.1               38.6

                                      2018 Civil Case and Criminal Felony Defendant Filings by Nature of Suit and Offense

      Type of            Total          A             B        C              D               E            F          G              H               I          J         K           L
        Civil              2,148            30            68       201            3                8           18         159              45            956        117          5        538
     Criminal ¹                91               2         23       18             20               8           8              5                -            -        4           1            2

NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
¹ Filings in the "Overall Caseload Statistics" section include criminal transfers, while filings by "Nature of Offense" do not.
² See "Explanation of Selected Terms."
                        Case 2:18-cv-02681-JAR-KGG Document 12-1 Filed 03/28/19 Page 15 of 15


                                                                               U.S. District Court — Judicial Caseload Profile
KANSAS                                                                                     12-Month Periods Ending

                                                                Dec 31          Dec 31              Dec 31       Dec 31              Dec 31        Dec 31
                                                                 2013            2014                2015         2016                2017          2018                      Numerical
                                                                                                                                                                              Standing
                                    Filings ¹                       2,442            2,415               5,384        2,602             2,233         2,305                    Within
                                 Terminations                       2,573            2,490               3,939        2,421             3,226         2,199               U.S.       Circuit
    Overall
   Caseload                         Pending                         2,229            2,144               3,593        3,771             2,767         2,869
   Statistics            Percent Change in Total
                           Filings Current Year
                            Over Earlier Year                         -5.6               -4.6            -57.2        -11.4               3.2                             49              4
                                    Number of Judgeships                  6                6                 6              6                 6             6
                            Vacant Judgeship Months ²                12.0                 9.2             12.0         12.0              20.0            24.0
                                            Total                     407                403              897          434               372             384              70              4
                                            Civil                     252                241              766          290               237             255              65              3
                                            Criminal
                          Filings                                                                                                                                         50              4
                                            Felony                    117                118               91           96                  91            85
                                            Supervised
   Actions                                  Release
per Judgeship                               Hearings                      38              43               41           47                  44            45              36              4
                               Pending Cases ²                        372                357              599          629               461             478              47              2
                              Weighted Filings ²                      398                385              696          375               345             348              72              4
                                 Terminations                         429                415              657          404               538             367              75              5
                              Trials Completed                            22              22               23           21                  21            21              26              2
                                            Criminal
                      From Filing to        Felony                    8.8                 9.7             10.3         10.6              11.5            11.0             64              8
   Median              Disposition
                                            Civil ²                   8.6                 9.5              2.1          7.6              18.7             7.5             23              1
Time (Months)
                           From Filing to Trial ²
                               (Civil Only)                          30.0                22.9             24.5         22.7              29.4            24.5             21              2
                              Number (and %)
                               of Civil Cases                         132                120               78           71                76             826
                              Over 3 Years Old ²                      9.5                8.9               2.7          2.4               3.7            37.7             91              8
                             Average Number
                          of Felony Defendants
     Other                    Filed per Case                          1.5                 1.4              1.4          1.4               1.4             1.3
                                 Avg. Present for
                                 Jury Selection                      48.2                41.1             34.3         42.5              47.8            44.1
                     Jurors      Percent Not
                                 Selected or
                                 Challenged                          44.6                35.7             21.8         32.4              43.7            38.0

                                      2018 Civil Case and Criminal Felony Defendant Filings by Nature of Suit and Offense

      Type of            Total          A             B         C              D                E            F          G               H            I          J         K           L
        Civil              1,528            75            10        434            52               88           80         143             179           22        311          3        131
     Criminal ¹               503               7         142       43             131              54           18             33            11          21        17           6            20

NOTE: Criminal data in this profile count defendants rather than cases and therefore will not match previously published numbers.
¹ Filings in the "Overall Caseload Statistics" section include criminal transfers, while filings by "Nature of Offense" do not.
² See "Explanation of Selected Terms."
